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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 20-cv-02702-RM-SKC

  KATELYN SCHILLER,

         Plaintiff;

         v.

  THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY SYSTEM, BY
  AND ON BEHALF OF COLORADO STATE UNIVERSITY;
  OVATIONS FOOD SERVICES, LP (d/b/a SPECTRA FOOD SERVICES AND
  HOSPITALITY);
  MICHAEL BEST; and
  SCOTT SCHELL,

         Defendants.


      PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION


         Plaintiff Katelyn Schiller, by and through the undersigned counsel, hereby files this

  Reply in Support of her Motion to Compel Production [ECF No. 116] pursuant to Fed. R. Civ. P.

  37(a)(3)(A).

     1. Introduction

         Rather than addressing the merits of the dispute this Court authorized the parties to

  adjudicate through its January 5, 2022 order [ECF No. 114], CSU’s Response to Plaintiff’s

  Motion to Compel Production [ECF No. 122] focuses most of its attention on the supposed

  overbreadth of Plaintiff’s discovery requests. These arguments fail because CSU waived any

  objection to the substantive scope of Plaintiff’s discovery requests, and in any case CSU’s

  asserted concerns are resolved by the Court’s February 11, 2022 order [ECF No. 124] requiring

  the parties to identify custodians and search terms to govern CSU’s responses to Plaintiff’s



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  discovery requests. More to the point, and as argued in detail in Plaintiff’s Motion to Compel

  Production [ECF No. 116], Plaintiff is entitled to business-related communications found on

  CSU’s custodians’ mobile devices. CSU does not dispute Plaintiffs’ arguments on this issue in

  its Response, and its constitutional argument is unavailing. As such, Plaintiff respectfully

  requests this court grant the Motion and compel Defendant to search its custodians’ mobile

  devices for responsive business-related communications.

      2. CSU’s Subject-Matter Objection is both Waived and Moot.

         Plaintiff propounded discovery requests on Defendant CSU on August 31, 2021.

  Defendant CSU responded to Plaintiff’s discovery requests on October 14, 2021. See Ex. A,

  CSU’s Resp. to Pl’s First Set of Written Discovery. In its discovery responses, CSU objected to

  three of Plaintiff’s requests for production, including the requests at issue here, on the basis that

  those requests were “overly broad and seeking information not relevant to any party’s claim or

  defense and disproportional to the needs of the case in that the Requests seek communications

  that occurred after the service of the preservation notice issued by Schiller’s attorneys on

  December 11, 2019.” Ex. A at 18-19 (emphasis added). Importantly, CSU did not indicate in its

  Responses that it had withheld any documents on the basis of this objection. CSU’s only other

  objection to the requests pertinent to the dispute currently before this Court was that they sought

  information protected by the attorney-client privilege. Id. at 19.

         CSU did not cite any legal authority to support its objection based on the timing of

  Plaintiff’s preservation notice, and Plaintiff is unaware of any such authority.1 More importantly,



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    The purpose of Plaintiff’s preservation letter was, of course, to inform CSU of its obligation to
  preserve evidence in light of the possibility of litigation. Federal Rule of Civil Procedure
  26(b)(1) provides that “[p]arties may obtain discovery regarding any nonprivileged matter that is
  relevant to any party’s claim or defense and proportional to the needs of the case.” Plaintiff
  cannot fathom any reason why documents and communications that post-date Plaintiff’s


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  Defendant’s objection—which referred exclusively to the temporal scope of the request in

  reference to Plaintiff’s preservation letter—did not encompass the subject-matter, or substantive

  scope, of Plaintiff’s request, as Defendant now contends [ECF No. 122, at 2]. See Fed. R. Civ. P.

  34(b)(2)(B) (“[T]he response must . . . state with specificity the grounds for objecting to the

  request, including the reasons.”). Here, CSU complied with Rule 34’s specificity requirement by

  identifying the temporal scope of Plaintiff’s request in reference to Plaintiff’s preservation letter.

  Defendant cannot, as it now seeks to do (in part by omitting the relevant excerpt of its objection

  in its Response to this Motion [ECF No. 122, at 2]) claim that its objection in fact applied to the

  substantive scope of Plaintiff’s discovery requests, as opposed to only the temporal scope.

  Because Defendant did not object to the substantive scope of Plaintiff’s discovery requests in its

  initial responses, any such objection is waived. See Allen v. Mill-Tel, Inc., 283 F.R.D. 631, 633

  (D. Kans. 2012) (“[T]he court will deem waived any objections not asserted in the initial

  response to a discovery request but raised in response to a motion to compel.”).

         Furthermore, Defendant’s Response omits any mention of the parties’ multiple

  conferrals, including Plaintiff’s repeated good faith attempts to confer regarding a set of

  custodians and search terms that would clarify the scope of her requests and reduce Defendant’s

  discovery burden. Plaintiff first suggested the parties enter an ESI protocol to specify search

  terms and custodians in the parties’ very first discovery conferral on November 5, 2021.2 As of



  preservation letter would be disproportionate to the needs of the case, especially since the
  majority of Defendant’s Title IX investigation took place after Plaintiff sent her preservation
  letter.
  2
   In addition to asking CSU to agree to an ESI protocol in order to agree to a set of search terms
  and custodians to govern CSU’s search for ESI pursuant to Plaintiff’s discovery requests,
  Plaintiff also asked that the parties agree to search terms in order to facilitate her responses to
  CSU’s own discovery requests. See Ex. B, 2021.11.26 DeGolia-Spear re ESI Protocol. Although
  Plaintiff does not dispute that she objected to CSU’s own discovery requests as substantively


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  this writing, Plaintiff has provided Defendant with a set of proposed search terms, to which

  Defendant has not identified any objections. See Ex. C, 2022.2.8 DeGolia-Spear re Plaintiff’s

  Search Terms. In addition to these search terms, the parties are currently conferring regarding a

  set of CSU custodians for the ESI protocol the court ordered the parties enter in its February 11,

  2022 order. See [ECF No. 124]. Thus, the parties will soon agree to a set of search terms and

  custodians to govern CSU’s search for responsive ESI, which should resolve any remaining

  concerns about the breadth of Plaintiff’s discovery requests.

     3. Defendant’s Constitutional Argument has no Merit.

         CSU contends that Plaintiff’s request for business-related text messages “raises serious

  constitutional concerns as the government’s search of an individual’s cell phone implicates the

  Fourth Amendment.” [ECF No. 122, at 6]. First, CSU has not identified that the cell phones in

  question are personal cell phones belonging to CSU’s individual custodians, rather than CSU-

  issued devices, as Plaintiff invited in its Motion to Compel. See [ECF No. 116, at 6-7]. Even if

  the devices in question are the personal property of CSU employees, however, the Fourth

  Amendment would not apply under the current circumstances because CSU’s custodians would

  be voluntarily turning their devices over to CSU’s counsel for narrowly-tailored searches. Thus,

  the discovery “searches” would not in fact be considered governmental searches under the

  Fourth Amendment. Furthermore, even if this Court were to hold the Fourth Amendment might

  apply, CSU’s custodians would not have a reasonable expectation of privacy in their business-



  overbroad, that objection was based on the undersigned counsel’s unwillingness to simply ask
  Plaintiff to furnish those documents she thought relevant, or to conduct a manual search of every
  email, text message, and social media post for relevant content. Plaintiff in good faith asked CSU
  to provide her with search terms to facilitate her search for responsive ESI months before the
  present dispute arose. CSU’s suggestion before the court now that Plaintiff seeks to thwart
  discovery by telling it to “‘do as I say, not as I do’” is thus misplaced. See [ECF No. 122, at 6
  (citation omitted)].


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  related communications exchanged on those devices because all such communications are

  subject to the Colorado Open Records Act (“CORA”). See Denver Pub. Co. v. Bd. of Cty.

  Com’rs, 121 P.3d 190, 199-200 (Colo. 2005) (holding that public employee communications

  made “for use in the performance of public functions” was subject to CORA regardless whether

  that communication was made on publicly-owned or personal computer equipment).

         CSU does not cite any relevant authority to support it broad proposition that requiring it

  to produce business-related communications on its custodians’ devices would violate its

  employees’ Fourth Amendment rights. The only cases cited by CSU, Carpenter v. United States

  and Larious v. Lunardi, are inapposite. In Carpenter, the Supreme Court held that the

  government must obtain a search warrant before police may obtain cell phone records providing

  a person’s physical location through cell tower triangulation. See 138 S. Ct. 2206, 2214-15

  (2018). In Lunardi, the Eastern District of California denied the Defendant California State

  Patrol officers’ motion to dismiss where the officers “confiscated [Plaintiff’s] personal device”

  and “extracted all data,” and where “Defendants were not looking for a particular type of data or

  limiting their search to a particular time frame.” No. 2:15-cv-02451-MCE-CMK, 2016 WL

  6679874, at *5 (E.D. Cal. Nov. 16, 2016). Notably, although CSU asserts that the Ninth Circuit

  affirmed the Eastern District of California’s order, see [ECF No. 122, at 7], in fact the Ninth

  Circuit case cited by CSU affirmed a subsequent order granting summary judgment on behalf of

  Defendants. See Larios v. Lunardi, No. 20-15764, 856 Fed. App’x 704 (9th Cir. May 19, 2021),

  aff’g Larios v. Lunardi, 442 F. Supp. 3d 1299 (E.D. Cal. 2020) (finding that warrantless search

  of employee’s personal cell phone was reasonable and not violative of Fourth Amendment).




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     4. Plaintiff’s Request is Still Necessary.

         CSU further argues that it has adequately responded to Plaintiff’s requests for production;

  that three of its employees—Steve Cottingham, David Crum, and Joe Parker—conducted

  additional searches of their cell phones; that those employees “have attested that they have

  produce[d] all information in their possession responsive to Plaintiff’s requests”; and that as

  such, “there is nothing to compel.” See [ECF No. 122, at 7-8]. To the contrary, the records

  produced as Exhibits to Defendant’s Response only underscore the need for an actual, attorney-

  directed search for responsive ESI. Indeed, CSU’s now-disclosed text message exchange

  between CSU Deputy Director of Athletics Steve Cottingham and Defendant Michael Best

  suggests that Mr. Cottingham deleted multiple text messages in response to Mr. Best. See

  Ex. D, Cottingham-Best Text Messages. In this exchange, produced in Defendant’s Exhibit H to

  its Response [ECF No. 122] and Bates stamped CSU 1294-1295, Defendant Best asks Mr.

  Cottingham to explain “how this went sideways.” Id. The next text message, some eight hours

  later, is again from Mr. Best, stating, “Okay. I understand.” Id. Mr. Best then states that “[i]t just

  seems like decisions are being made with a fairly limited amount of info,” and asks Mr.

  Cottingham, “Does that make sense?” Mr. Cottingham’s response to this second query is also

  missing from the exchange.

         Plaintiff is hopeful there is a reasonable explanation for these apparent missing text

  messages. Regardless, these records strongly support the need for an attorney-directed search of

  business-related communications found on CSU’s custodians’ mobile devices.

         Finally, although CSU has repeatedly suggested that Plaintiff should simply subpoena its

  custodians under Rule 45, this is not a workable alternative for two reasons. First, Defendant

  only last week provided Plaintiff with the list of custodians who participated in Defendant’s




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  response to Plaintiff’s requests for production. Of the fourteen individuals who “were instructed

  to provide all information in their possession or control . . . relating to Katelyn Schiller,” only

  five were disclosed in CSU’s 26(a) disclosures. Compare Ex. E, 2022.2.7 Spear-DeGolia re

  CSU ESI Search Procedures, with Ex. F, 2021.01.26 CSU Initial Disclosures. Plaintiff does not

  know who these other individuals are, where they reside, or where they might be served with a

  Rule 45 subpoena. Second, even if Plaintiff did have such information, Plaintiff would face a

  significant burden in issuing, serving, and enforcing each of these subpoenas.

     5. Conclusion

         Plaintiff is entitled to obtain work-related communications exchanged on CSU’s

  custodians’ mobile devices under Fed. R. Civ. P. 34. CSU has not asserted that these devices are

  even the personal property of its custodians, rather than CSU-owned devices. Even if the devices

  are the personal property of its custodians, CSU has not provided any legitimate legal basis for

  their exclusion from discovery. Plaintiff respectfully requests this Court grant the Motion and

  order CSU to search its custodians’ mobile devices for any business-related communications

  responsive to Plaintiff’s discovery requests.



  Respectfully submitted this 14th day of February, 2022.

                                                                         s/ Benjamin DeGolia
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